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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

MELISSA A. LATHAM, an individual,              )
                                               )
                           Plaintiff,          )
                                               )
v.                                             ) Case No. 18-CIV-133-RAW
                                               )
OPTIONS INCORPORATED,                          )
an Oklahoma corporation,                       )
                                               )
                           Defendant.          )

                  PLAINTIFF’S UNOPPOSED MOTION TO COMPEL
                   GOOGLE, INC. TO COMPLY WITH SUBPOENA

      COMES NOW the Plaintiff, Melissa A. Latham, by and through her attorney of

record, Carrie M. Luelling, and for her Unopposed Motion to Compel Google, Inc. to

Comply with Subpoena, states and alleges as follows:

      1.     Plaintiff sent a Subpoena to Google, Inc. on July 18, 2018, requesting All

Google drive files for Mlatham346@gmail.com from January 1, 2009 to December 31,

2015. See Subpoena attached hereto as Exhibit “1”.

      2.     On July 24, 2018, Google, Inc. replied by sending an objection letter to

Plaintiff’s counsel stating it would not provide the documents requested. See letter

attached hereto as Exhibit “2”.

      3.     Plaintiff’s counsel contacted Google, Inc. personally to discuss the matter.

Google continued to state that they would not provide the requested documents since it

would violate Section 2702(a) of the federal Stored Communications Act.

      4.     Defendant’s counsel does not object to this Motion.

      5.     Plaintiff requests that Google, Inc. by compelled to produce the documents

requested in the Subpoena served upon them.




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      WHEREFORE, premises considered, Plaintiff hereby requests the Court compel

Google, Inc. to produce the documents requested in the Subpoena served upon them; and

for such other and further relief as the Court deems just and proper.

                                         Respectfully submitted,


                                         s/ Carrie M. Luelling________________
                                         Carrie M. Luelling OBA #31628
                                         320 S. Boston, Ste. 1026
                                         Tulsa, Oklahoma 74103
                                         Telephone (918) 800-9680
                                         Attorney for Plaintiff


                        CERTIFICATE OF ELECTRONIC SERVICE

        I hereby certify, that on this 2nd day of November, 2018, I electronically
transmitted the attached document to the Clerk of the Court using the ECF System for
filing and transmittal of Notice of Electronic filing to the following ECF registrants:

                           Terry S. O’Donnell
                           Savage, O’Donnell Affeldt
                             Weintraub & Johnson
                           110 W. 7th Street, Suite 1010
                           Tulsa, OK 74119




                                                s/ Carrie M. Luelling
                                                Carrie M. Luelling




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